                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: John Thomas Lacik                         )          Case No.: 17-81630-CRJ-11
       SSN: xxx-xx-9376                          )
                                                 )
       Lisa Elaine Lacik                         )
       SSN: xxx-xx-1278                          )
                                                 )
               Debtors.                          )          CHAPTER 11

                          DEBTORS’ MOTION FOR ENTRY OF A
                       FINAL DECREE CLOSING CHAPTER 11 CASE

       COME NOW John Thomas Lacik and wife, Lisa Elaine Lacik, as Chapter 11 Debtors-in-
Possession (the “Debtors”), and file this Debtors’ Motion for Entry of a Final Decree Closing
Chapter 11 Case (the “Motion”). NOTICE IS HEREBY GIVEN THAT ANY OBJECTION TO
THE ENTRY OF A FINAL DECREE CLOSING CHAPTER 11 CASE MUST BE FILED
WITH THE BANKRUPTCY COURT WITHIN TWENTY (20) DAYS FROM THE DATE OF
THIS MOTION. IF NO OBJECTIONS ARE FILED BEFORE SAID DEADLINE, A FINAL
DECREE WILL BE ENTERED CLOSING DEBTORS’ CHAPTER 11 CASE WITHOUT
FURTHER NOTICE OR HEARING OF THE BANKRUPTCY COURT. In support of this
Motion, the Debtors respectfully represent as follows:

                                  JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.
This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this District and
before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.


       2.      The statutory and legal predicates for the relief sought herein are Sections 105(a), 350
and 554 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Code”), Rule 3022 of
the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).




Case 17-81630-CRJ11         Doc 174 Filed 11/05/18 Entered 11/05/18 12:18:32                 Desc
                              Main Document     Page 1 of 4
                                                      NOTICE

        3.       Pursuant to Bankruptcy Rule 2002, the Debtors propose to serve a copy of this
Motion upon all creditors and parties as listed on the Clerk’s Certified Matrix; and Richard M.
Blythe, Esq., Office of the Bankruptcy Administrator. The Debtors submit that such notice is good,
sufficient and appropriate under the particular circumstances and that no other or further notice of
the Motion is or shall be required.


                                                 BACKGROUND

        4.       On May 31, 2017, the Debtors filed a petition for relief (Doc. ???) in the United
States Bankruptcy Court for the Northern District of Alabama (the "Court") under Chapter 11 of the
Code.


        5.       On May 1, 2018, this Court entered its Order Confirming Chapter 11 Plan of
Reorganization (Doc. 148).


        6.       The Debtors’ confirmed Plan has become final and effective (the “Effective Date”). 1


        7.       The Debtors are awaiting a new calculated payment amount from Class 1 secured
creditor Regions Mortgage and have been assured by the creditor’s lawyer that such information will
be available soon. In the meantime, the Debtors are making timely payments to Class 2 secured
creditor Regions Bank. Thus, the confirmed Plan has been substantially consummated in accordance
with 11 U.S.C. § 1101(2) and the Estate will be fully administered, except for the completion of all
Plan payments.


        8.       The docket maintained in this Chapter 11 case reflects the absence of any pending
and/or open adversary proceeding or contested matters. Undersigned counsel states that to the best of
counsel’s knowledge, there are no outstanding issues that would preclude the closure of this case.


1
  “Effective Date” was defined in the Debtors’ Plan as “the twentieth (20th) business day after an Order confirming this
Plan becomes final and no longer open for appeal, stay or reconsideration in accordance with the Federal Rules of
Bankruptcy Procedure and/or the Federal Rules of Appellate Procedure or the first business day of the next calendar
month, whichever is later.”




Case 17-81630-CRJ11              Doc 174 Filed 11/05/18 Entered 11/05/18 12:18:32                           Desc
                                   Main Document     Page 2 of 4
        9.       As of the filing of this Motion, the Debtors have submitted all quarterly post-
confirmation reports to the Office of the Bankruptcy Administrator, and paid all required fees
pursuant to 28 U.S.C. §1930(a)(6). Prior to the hearing on this Motion, the Debtors will file any
further reports coming due and pay any fees incurred between the filing of this Motion and seven (7)
days before the hearing date.

                                                 DISCUSSION 2

        10.      Section 350(a) of the Code provides that “[a]fter an estate is fully administered and
the court has discharged the trustee, the court shall close the case.” 11 U.S.C. § 350(a). Furthermore,
Rule 3022 of the Bankruptcy Rules provides that “[a]fter an estate is fully administered in a Chapter
11 reorganization case, the court, on its own motion or on motion of a party in interest shall enter a
final decree closing the case.” Fed. R. Bankr. P. 3022.


        11.      Courts determine on a case-by-case basis by analyzing relevant factors to determine if
a case is fully administered and can be closed allowing courts flexibility in determining whether an
estate is fully administered. See In re Union Home and Industrial, Inc. 375 B.R. 912, 917 (10th Cir.
2007) (citing, In re Federated Dept’ Stores, Inc. 43 Fed. Appx. 820, 822 (6th Cir. 2002)).


        12.      The Court in In re SL Management, LLC, 2010 WL 1379749 (Bankr. N.D. Tex)
concluded that “’fully administered’ … does not require that all claims be paid as a condition to
closing the case.” Id. at *4. The Court recognized that a Final Decree can be entered even when all
the payments required by a plan are not completed. Id. (citations omitted).


        13.      The District Court in In re JMP-Newcor International, Inc., 225 B.R 462 (N.D. Ill.
1998) upheld the Bankruptcy Court’s determination to close a pending Chapter 11 even though an
adversary case remained open. Id. at 465. The District Court determined that making remaining
disbursements and the adversary proceeding did not warrant keeping the case open. Id.




2
  Much of the legal discussion herein is taken from Motion for Entry of a Final Decree Closing These Chapter 11 Cases
in In re: The Consolidated FGH Liquidating Trust f/k/a Friede Goldman Halter, Inc., et al., Case No. 01-52-173.




Case 17-81630-CRJ11              Doc 174 Filed 11/05/18 Entered 11/05/18 12:18:32                          Desc
                                   Main Document     Page 3 of 4
                                     RELIEF REQUESTED

       14.    Pursuant to Section 350(a) of the Code and Bankruptcy Rule 3022, the Debtors
hereby seek the entry of a Final Decree of the Court closing this Chapter 11 case. The entry of a
Final Decree is appropriate because the Plan has been substantially consummated. The Confirmation
Order is final, and the Debtors have made several distributions pursuant to the terms of the Plan and
completed the claim objection process. The entry of a Final Decree and closing the case will stop the
Debtors from incurring quarterly fees under Section 1930 and incurring expenses by maintaining the
open Chapter 11 case.


       WHEREFORE, the Debtors respectfully request the Court to enter a Final Decree and Order
as follows:
       1.     Closing this Chapter 11 case;
       2.     Granting such further relief to the Debtors as this Court deems just.

       Respectfully submitted, this 5th day of November, 2018.


                                           /s/ Tazewell T. Shepard
                                           Tazewell T. Shepard
                                           Kevin M. Morris
                                           Tazewell T. Shepard IV
                                           Attorneys for Debtors-in-Possession
                                           SPARKMAN, SHEPARD & MORRIS, P.C.
                                           P. O. Box 19045
                                           Huntsville, AL 35804
                                           Tel: 256/512-9924
                                           Fax: 256/512-9837


                                 CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of this pleading upon all creditors and parties as
listed on the Clerk’s Certified Matrix; and Richard M. Blythe, Esq., Office of the Bankruptcy
Administrator, by electronic service through the Court’s CM/ECF system and/or by depositing the
same in the United States mail, postage prepaid, this 5th day of November, 2018.

                                              /s/ Tazewell T. Shepard
                                              Tazewell T. Shepard




Case 17-81630-CRJ11         Doc 174 Filed 11/05/18 Entered 11/05/18 12:18:32               Desc
                              Main Document     Page 4 of 4
